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EXHIBIT A
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From: Carolyn Meckbach <Caroyn_Macébach@imad.uscourts.gox>
Date: Thu, Sep 9, 2021 at $:08 PM

Subject: RE: Varsity Béues jury selection - remote?

To: Levitz, Jennifer <jennifesievitz@avsj/.cam>

Hi Jennifer, this was passed along from the Judge and clerk:

“In all jury trials, the individual voir dire of prospective jurors is conducted at sidebar outside of the hearing of the general public and the
press for the sake of jurar privacy. This case requires a large number of prospective jurors to appear and be subjected to a lengthy jury
selection process. Accerdingly, the Court determined that limiting access to the individual vair dire pracedure would best protect the
Privacy of prospective jurors and ensure an efficient jury selection process.”

After voir dire temorrow, the pre-emptory challenges will become open/available on Zeom and in persan (with limited seating}

Thanks,

Carolyn Meckbach

Public Inforrnation Specialist

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